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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                           :   Case No. 19-24145 (RDD)
In re                                                      :
                                                           :   Chapter 11
TRIAX CAPITAL ADVISOR LCC,                                 :
                                                           :
                                      Debtor.              :
                                                           :
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                            ORDER DISMISSING CHAPTER 11 CASE

         Upon the motion of the United States Trustee having for an order under 11 U.S.C. §

1112(b) converting or dismissing this case (Dkt No. 38) (the “Motion”); and there being due

and sufficient notice of the Motion, and no additional notice being required; and upon the

record of the hearing held by the Court on the Motion on June 16, 2020, and all of the

proceedings herein; and, after due deliberation, the Court having determined that good and

sufficient cause has been established to dismiss this case and that such dismissal, rather than

conversion of this case to a case under chapter 7 of the Bankruptcy Code, is in the interests of

creditors and, to the extent relevant, the debtor’s interest holder(s); now, therefore, it is

hereby

         ORDERED, that this case commenced under chapter 11 of the Bankruptcy Code is

dismissed pursuant to 11 U.S.C. § 1112(b); and it is further
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       ORDERED, that the Debtor pay to the United States Trustee the appropriate sum required

pursuant to 28 U.S.C. § 1930 within ten (10) days of the entry of this order and simultaneously

provide to the United States Trustee an appropriate affidavit indicating the cash disbursements for

the relevant period.

Dated: White Plains, New York
June 22, 2020                                 /s/Robert D. Drain
                                              UNITED STATES BANKRUPTCY JUDGE
